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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

 Case No.       CV 21-8533-MCS (KKx)                                Date September 20, 2023
 Title MG Premium Ltd v. John Does 1-20 d/b/a Goodporn.to


 Present: The Honorable       KENLY KIYA KATO, UNITED STATES MAGISTRATE JUDGE


               RACHEL MAURICE                                        Not Reported
                 Deputy Clerk                                        Court Reporter


     Attorney(s) Present for Plaintiff(s):                Attorney(s) Present for Defendant(s):
                 None Present                                         None Present

 Proceedings:      (In Chambers) Order Re: Plaintiff’s Motion for Sanctions [Dkt. 134]


        On October 28, 2021, plaintiff MG Premium Ltd (“Plaintiff”) filed a Complaint alleging
defendants Does 1-20, d/b/a Goodporn.to, infringed Plaintiff’s copyrights in various “adult-
oriented audiovisual content.” Dkt. 1.

       On September 9, 2022, Plaintiff filed a First Amended Complaint (“FAC”) against
defendants Amrit Kumar (“defendant Kumar”), Lizette Lundberg, Emilie Brunn, and Does 4-20,
d/b/a Goodporn.to. Dkt. 30.

      On January 3, 2023, defendant Kumar, proceeding pro se, filed an Answer to the FAC. Dkt.
58. On January 26, 2023, defendant Kumar filed an Amended Answer to the FAC. Dkt. 63.

        On February 7, 2023, Plaintiff served a Notice of Deposition on defendant Kumar via email
for defendant Kumar’s deposition to occur via video on February 21, 2023 at 6:30 p.m. PT. Dkt.
81-2, Declaration of A. Eric Bjorgum in support of Motion to Compel (“Bjorgum MTC Decl.”), ¶ 8,
Ex. C.

         On February 16, 2023, Plaintiff’s counsel emailed defendant Kumar to confirm whether he
would appear for the February 21, 2023 deposition and requested he respond by February 17, 2023.
Id., ¶ 11. Defendant Kumar did not respond. Id. Therefore, Plaintiff’s counsel cancelled the
February 21, 2023 deposition. Id.

        On February 21, 2023, Plaintiff served a Notice of Deposition on defendant Kumar via
email for defendant Kumar’s deposition to occur via video on March 2, 2023 at 6:30 p.m. PT. Id.,
¶ 13, Ex. H.
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       On February 22, 2023, the Court issued a Jury Trial Scheduling Order setting a fact
discovery cut-off of July 17, 2023 and a Jury Trial for December 5, 2023. Dkt. 71.

       On March 2, 2023, Plaintiff’s counsel appeared for defendant Kumar’s deposition as
previously noticed. Bjorgum MTC Decl., ¶ 16. Defendant Kumar failed to appear. Id.

        On April 20, 2023, Plaintiff filed a Motion to Compel defendant Kumar to appear for a
deposition via videoconference, seeking evidentiary and monetary sanctions. Dkt. 81.

        On June 8, 2023, the Court issued an Order granting in part and denying in part Plaintiff’s
Motion to Compel. Dkt. 106. Specifically, the Court ordered defendant Kumar to meet and confer
telephonically with Plaintiff regarding mutually agreeable dates for defendant Kumar’s deposition, to
be held no later than June 28, 2023, and to appear for deposition on the agreed-upon date. Id. In
addition, the Court ordered defendant Kumar to pay Plaintiff the sum of $4,287.25, as reasonable
expenses incurred in bringing the Motion to Compel, no later than July 8, 2023. Id. Defendant
Kumar was “expressly cautioned that failure to meet and confer telephonically as required by Local
Rule and/or failure to appear in person or via video for his deposition as ordered herein will result
in monetary, evidentiary, and/or terminating sanctions.” Id.

        On June 12, 2023, defendant Kumar emailed Plaintiff’s counsel offering to appear for his
deposition on June 27, 2023 at 4:00 p.m. India Standard Time (“IST”), which is 3:30 a.m. PT. Dkt.
134-1, Declaration of A. Eric Bjorgum in support of Motion for Sanctions (“Bjorgum Sanctions
Decl.”), ¶ 4, Ex. A.

       On June 15, 2023, defendant Kumar filed a Motion to Modify the Court’s June 8, 2023
Order to (1) permit meet and confer communications to be conducted via email; (2) permit
defendant Kumar’s deposition to proceed via email; and (3) “reduce or remove” the award of
monetary sanctions. Dkt. 110.

        On June 20, 2023, the Court denied defendant Kumar’s Motion to Modify the Court’s June
8, 2023 Order. Dkt. 112. On the same date, Plaintiff’s counsel emailed defendant Kumar and
requested to begin the deposition on June 27, 2023 at 5:00 a.m. PT (5:30 p.m. IST). Bjorgum
Sanctions Decl., ¶ 8, Ex. D.

        On June 21, 2023, defendant Kumar filed a “Corrected” Motion to Modify the Court’s June
8, 2023 Order, seeking the same relief the Court had previously denied in its June 20, 2023 Order.
Dkt. 113.

        On June 22, 2023, the Court denied defendant Kumar’s “Corrected” Motion to Modify the
June 8, 2023 Order. Dkt. 115.

         On June 23, 2023, defendant Kumar sent Plaintiff’s counsel an email providing a phone
number where he could be reached. Bjorgum Sanctions Decl., ¶ 9, Ex. E. On the same date,
Plaintiff served a Notice of Deposition on defendant Kumar via email for defendant Kumar’s
deposition to occur via video on June 27, 2023 at 3:30 a.m. PT (4:00 p.m. IST), the time previously
proposed by defendant Kumar. Id., ¶ 9, Ex. F.

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        On June 27, 2023 at 3:30 a.m. PT (4:00 p.m. IST), Plaintiff’s counsel in Healdsburg,
California, a court reporter in New York, a videographer in Salt Lake City, a Hindi translator in Los
Angeles, and Plaintiff’s representatives appeared for defendant Kumar’s remote deposition. Id.,
¶¶ 11, 12. Defendant Kumar failed to appear. Id., ¶¶ 12, 14, Ex. J.

        On the same date, at 8:00 p.m. PT, Plaintiff’s counsel, as well as the court reporter,
videographer, and Plaintiff’s representatives, reconvened to call defendant Kumar to resolve any
technical issues. Id., ¶ 15. The translator was ready for a call at 9:00 p.m. PT (9:30 a.m. IST on June
28, 2023). Id. Plaintiff’s counsel sent defendant Kumar two emails scheduling the call and asking
that he confirm his availability. Id., ¶ 15, Ex. K. Defendant Kumar did not respond to Plaintiff’s
counsel’s emails. Id.

         On the same date, Plaintiff served a Notice of Deposition on defendant Kumar via email for
defendant Kumar’s deposition to occur via video on June 28, 2023 at 3:00 a.m. PT (3:30 p.m. IST).
Id., ¶ 16, Ex. M.

        On June 28, 2023 at 3:00 a.m. PT, Plaintiff’s counsel, the court reporter, videographer,
translator, and Plaintiff’s representatives appeared for defendant Kumar’s deposition. Id., ¶ 17.
Defendant Kumar failed to appear. Id., ¶ 18, Ex. O.

         On July 23, 2023, Plaintiff filed the instant Motion seeking terminating sanctions or, in the
alternative, evidentiary sanctions, as well as monetary sanctions, based on defendant Kumar’s failure
to comply with the Court’s June 8, 2023 Order requiring defendant Kumar to (a) meet and confer
via telephone; (b) appear for his deposition via video no later than June 28, 2023; and (c) pay
Plaintiff the sum of $4,287.25 as reasonable expenses. Dkt. 134.

         On August 3, 2023, defendant Kumar filed an Opposition to the Motion, claiming he
“encountered substantial technical difficulties that impeded his ability to participate effectively” in
the deposition. Dkt. 156 at 5. Defendant Kumar asserts he “proposed to continue the deposition
to a later date, allowing sufficient time for the technical issues to be fully addressed and resolved.”
Id.

        On August 10, 2023, Plaintiff filed a Reply in support of the Motion. Dkt. 158.

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       In light of defendant Kumar’s alleged technical difficulties and his representation that he is
amenable to “continu[ing] the deposition to a later date” that would “allow[] sufficient time for the
technical issues to be fully addressed and resolved,” the Court ORDERS as follows:

        1.      Within three (3) days of the date of this Order, Plaintiff’s counsel shall email
                defendant Kumar with three (3) proposed dates for a deposition by videoconference




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               to be held no later than October 4, 2023. 1 Within 48 hours of receiving
               Plaintiff’s counsel’s email, defendant Kumar shall respond to confirm the date and
               time he is available for the deposition. Within 24 hours of receiving defendant
               Kumar’s email, Plaintiff’s counsel shall confirm the date and time of defendant
               Kumar’s deposition. Defendant Kumar shall thereafter appear for his
               deposition on the date agreed to by the parties.

        2.     It is defendant Kumar’s responsibility to resolve any technical issues in
               advance of the agreed-upon date and ensure he is able to connect to Veritext
               via video for his deposition. Failure to meet this requirement in a way that
               prevents the deposition from moving forward on the agreed-upon date shall be
               considered a failure to appear at the deposition.

               Defendant Kumar is expressly cautioned that if he fails to appear for his
               deposition by October 4, 2023, the Court will recommend the District Judge
               grant Plaintiff’s Motion for Sanctions, including the request for terminating
               sanctions. See FED. R. CIV. P. 37(b)(2)(A).

        3.     Within seven (7) days of the date of defendant Kumar’s deposition, Plaintiff
               shall file a status report regarding the deposition.

        IT IS SO ORDERED.

cc: Honorable Mark C. Scarsi




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          Pursuant to a forthcoming order from Judge Scarsi, the discovery cut-off will be extended
for the limited purpose of Plaintiff taking defendant Kumar’s deposition.

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